Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1520 Page 1 of 6
Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1521 Page 2 of 6
Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1522 Page 3 of 6
Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1523 Page 4 of 6
Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1524 Page 5 of 6
Case 2:07-cr-02080-RHW   ECF No. 454   filed 03/04/09   PageID.1525 Page 6 of 6
